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 5
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   STEVEN DALTON and TINA PIZZO, )               No. 21-cv-02143-W-WVG
                                   )
12        Plaintiffs,              )               DEFENDANTS COUNTY OF SAN
                                   )               DIEGO AND DEPUTY DAVID
13     v.                          )               COLLIN’S ANSWER TO
                                   )               PLAINTIFFS’ FIRST AMENDED
14   COUNTY OF SAN DIEGO; DAVID    )               COMPLAINT
     COLLINS, JR.; and DOES 1-5,   )
15                                 )               JURY TRIAL DEMANDED
          Defendants.              )
16                                 )
                                   )
17
18         Defendants County of San Diego and Deputy David Collins, Jr. (“Deputy Collins”)
19   (collectively together as “Defendants”) answer Plaintiffs Steven Dalton and Tina Pizzo’s
20   (“Plaintiffs” or “Dalton” or “Pizzo”) First Amended Complaint (“FAC”) filed July 11,
21   2022. Defendants admit, deny, and allege as follows:
22         1.     Answering paragraph 1 of the FAC, Defendants aver that the allegations of
23   said paragraph state legal conclusions to which no response is required. If a response is
24   required, Defendants generally and specifically deny each and every allegation contained
25   therein.
26         2.     Answering paragraph 2 of the FAC, Defendants aver said paragraph states a
27   legal conclusion or argument to which no response is required, except without admitting
28   that the allegations are true and given its Affirmative Defenses to the allegations in the
 1   FAC, Defendants admit that venue is proper in the Southern District of California. If a
 2   response is required, Defendants generally and specifically deny each and every
 3   allegation contained therein.
 4         3.     Answering paragraphs 3, 4, and 5 of the FAC, Defendants are without
 5   sufficient knowledge or information to form a belief as to the truth of those allegations,
 6   and on that basis, generally and specifically deny each and every allegation therein.
 7         4.     Answering paragraphs 6 and 7 of the FAC, Defendants admit that the
 8   County of San Diego is a public entity, duly organized and existing under the laws of the
 9   State of California. As to the remaining allegations contained within or inferred by
10   paragraphs 6 and 7, Defendants admit that Deputy David Collins, Jr. is employed by the
11   County of San Diego as a San Diego County Sheriff’s Deputy. As to the rest of the
12   allegation, said statements state a legal conclusion or argument to which no response is
13   required. To the extent a response is required, Defendants generally and specifically deny
14   each and every allegation contained therein.
15         5. Answering paragraph 8 of the FAC, Defendants aver that the allegations of said
16   paragraph state legal conclusions to which no response is required. However, without
17   admitting that the allegations are true and given its Affirmative Defenses to the
18   allegations in the FAC, Defendants admit that Plaintiffs filed a claim with the County and
19   that the County rejected Plaintiffs’ claim. As to the remaining allegations contained
20   within or inferred by paragraph 8, Defendants are without sufficient knowledge or
21   information to form a belief as to the truth of those allegations and on that basis generally
22   and specifically deny each and every allegation therein.
23         6. Answering paragraph 9 of the FAC, Defendants are without sufficient
24   knowledge or information to form a belief as to the truth of those allegations, and on that
25   basis deny each and every allegation therein.
26         7. Answering paragraph 10 of the FAC, Defendants are without sufficient
27   knowledge or information to form a belief as to the truth of those allegations, and on that
28   basis deny each and every allegation therein.
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 1         8. Answering paragraph 11 of the FAC, Defendants are without sufficient
 2   knowledge or information to form a belief as to the truth of those allegations, and on that
 3   basis Defendants deny each and every allegation therein.
 4         9. Answering paragraph 12 of the FAC, Defendants are without sufficient
 5   knowledge or information to form a belief as to the truth of those allegations, and on that
 6   basis Defendants deny each and every allegation therein.
 7         10. Answering paragraph 13 of the FAC, Defendants are without sufficient
 8   knowledge or information to form a belief as to the truth of those allegations, and on that
 9   basis Defendants deny each and every allegation therein.
10         11. Answering paragraph 14 of the FAC, Defendants admit that Deputy Collins
11   arrived at the residence and undertook a search for O.D. Defendants are without
12   sufficient knowledge or information to form a belief as to the truth of the remaining
13   allegations, and on that basis, Defendants deny each and every remaining allegation.
14         12. Answering paragraph 15 of the FAC, Defendants admit that Deputy Collins
15   went back to Plaintiffs’ residence after searching for O.D., and that Deputy Collins spoke
16   with O.D., and Pizzo, and asked to speak with Dalton and Dalton came outside. As to
17   the remaining allegations. Defendants are without sufficient knowledge or information to
18   form a belief as to the truth of those allegations, and on that basis deny each and every
19   remaining allegation.
20         13. Answering paragraph 16 of the FAC, Defendants admit that Deputy Collins
21   spoke with Dalton and Dalton was handcuffed. Defendants deny the characterization of
22   the conversation between Deputy Collins and Dalton. Defendants deny that Dalton was
23   transported by Deputy Collins. Defendants admit that Deputy Collins spoke to Pizzo after
24   Dalton was in custody and made a statement to Pizzo similar, but not identical to that
25   alleged and quoted in the FAC, however, Plaintiffs omit the context of the conversation,
26   and therefore Defendants deny the characterization of the conversation. As to any
27   remaining allegations, Defendants are without sufficient information to form a belief as
28   to the truth of those allegations, and on that basis deny each and every other allegation
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 1   therein. To the extent that Plaintiffs allege that Steven Dalton was arrested without
 2   probable cause, Defendants aver that such allegations state a legal conclusion and legal
 3   argument to which no response is required. If a response is required, Defendants
 4   generally and specifically deny each and every allegation contained therein.
 5         14.    Answering paragraph 17 of the FAC, Defendants admit that Deputy Collins
 6   responded to Plaintiffs’ residence a third time and spoke with Pizzo, and Pizzo answered
 7   her cell phone. Defendants deny the characterization of Deputy Collins as “feeling
 8   ignored” and further deny that Deputy Collins “began to remove his handcuffs from his
 9   belt.” As to the remaining allegations, Defendants are without sufficient knowledge or
10   information to form a belief as to the truth of those allegations, and on that basis deny
11   each and every allegation therein. To the extent that Pizzo alleges she was detained,
12   Defendants aver that such allegations state a legal conclusion and argument to which no
13   response is required. If a response is required, Defendants generally and specifically deny
14   each and every allegation contained herein.
15         15.    Answering paragraph 18 of the FAC, Defendants admit that Deputy Collins
16   was shown a video of O.D., the decision was made to transport O.D. to a hospital, and
17   O.D. was transferred to a hospital. Defendants deny the characterization of Deputy
18   Collins reaching for his handcuffs prior to viewing the video and deny that Brook Dalton
19   showed Defendants a video “as the handcuffs were coming out.” As to the remaining
20   allegations, Defendants are without sufficient knowledge or information to form a belief
21   as to the truth of those allegations, and on that basis deny each and every allegation
22   therein.
23         16.    Answering paragraph 19 of the FAC, Defendants deny that Dalton was
24   booked on false charges. As to the other allegations, Defendants are without sufficient
25   knowledge or information to form a belief as to the truth of those allegations, and on that
26   basis deny each and every allegation therein. To the extent that Plaintiffs are stating an
27   argument or legal conclusion in this paragraph, no response is required. If a response is
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 1   required, Defendants generally and specifically deny each and every allegation contained
 2   therein.
 3         17. Answering paragraphs 20 and 21 of the FAC, Defendants generally and
 4   specifically deny the allegations. To the extent that such allegations state legal
 5   conclusions and arguments, no response is required. If a response is required, Defendants
 6   generally and specifically deny each and every allegation contained therein.
 7                                 FIRST CLAIM FOR RELIEF
 8         18.    Answering paragraph 22 of the FAC, Defendants incorporate by reference
 9   its responses to paragraphs 1 through 21 of the FAC as though fully set forth herein.
10         19.    Answering paragraph 23 of the FAC, Defendants aver that said paragraph
11   states legal conclusions, and statements of law or arguments to which no response is
12   required. If a response is required, Defendants general and specifically deny each and
13   every allegation contained therein.
14         20. Answering paragraph 24 of the FAC, Defendants aver that said paragraph
15   states legal conclusions, and statements of law or arguments to which no response is
16   required. If a response is required, Defendants general and specifically deny each and
17   every allegation contained therein.
18         21.     Answering paragraph 25 of the FAC, Defendants generally and specifically
19   deny each and every the allegation contained therein.
20         22.     Answering paragraph 26 of the FAC, Defendants generally and specifically
21   deny each and every the allegation contained therein.
22         23.     Answering paragraph 27 of the FAC, Defendants generally and specifically
23   deny each and every the allegation contained therein.
24                               SECOND CLAIM FOR RELIEF
25         24.    Answering paragraph 28 of the FAC, Defendants incorporate by reference
26   its responses to paragraphs 1 through 27 of the FAC as though fully set forth herein.
27         25.    Answering paragraph 29 of the FAC, Defendants aver that said paragraph
28   states legal conclusions, and statements of law or arguments to which no response is
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 1   required. If a response is required, Defendants generally and specifically deny each and
 2   every allegation contained therein.
 3         26.    Answering paragraph 30 of the FAC, Defendants aver that said paragraph
 4   states legal conclusions, and statements of law or arguments to which no response is
 5   required. If a response is required, Defendants generally and specifically deny each and
 6   every allegation contained therein.
 7         27. Answering paragraph 31 of the FAC, Defendants generally and specifically
 8   deny each and every the allegation contained therein.
 9         28. Answering paragraph 32 of the FAC, Defendants generally and specifically
10   deny each and every the allegation contained therein.
11         29. Answering paragraph 33 of the FAC, Defendants generally and specifically
12   deny each and every the allegation contained therein.
13
14                               THIRD CLAIM FOR RELIEF
15         30.    Answering paragraph 34 of the FAC, Defendant incorporate by reference its
16   responses to paragraphs 1 through 33 of the FAC as though fully set forth herein.
17         31.    Answering paragraph 35 of the FAC, Defendants aver that said paragraph
18   states legal conclusions, and statements of law or arguments to which no response is
19   required. If a response is required, Defendants generally and specifically deny each and
20   every allegation contained therein.
21         32. Answering paragraph 36 of the FAC, Defendants generally and specifically
22   deny each and every the allegation contained therein.
23         33. Answering paragraph 37 of the FAC, Defendants generally and specifically
24   deny each and every the allegation contained therein.
25         34. Answering paragraph 38 of the FAC, Defendants generally and specifically
26   deny each and every the allegation contained therein.
27   ///
28   ///
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 1                              FOURTH CLAIM FOR RELIEF
 2         35.    Answering paragraph 39 of the FAC, Defendant incorporate by reference its
 3   responses to paragraphs 1 through 38 of the FAC as though fully set forth herein.
 4         36.    Answering paragraph 40 of the FAC, Defendants aver that the allegations of
 5   said paragraph state legal conclusions, and statements of law or arguments to which no
 6   response is required. If a response is required, Defendants generally and specifically deny
 7   each and every allegation contained therein.
 8         37. Answering paragraph 41 of the FAC, Defendants generally and specifically
 9   deny each and every the allegation contained therein.
10         38. Answering paragraph 42 of the FAC, Defendants generally and specifically
11   deny each and every the allegation contained therein.
12                                FIFTH CLAIM FOR RELIEF
13         39.    Answering paragraph 43 of the FAC, Defendant incorporate by reference its
14   responses to paragraphs 1 through 42 of the FAC as though fully set forth herein.
15         40.    Answering paragraph 44 of the FAC, Defendants aver that the allegations of
16   said paragraph state legal conclusions, and statements of law or arguments to which no
17   response is required. If a response is required, Defendants generally and specifically deny
18   each and every allegation contained therein.
19         41. Answering paragraph 45 of the FAC, Defendants generally and specifically
20   deny each and every allegation contained therein.
21         42. Answering paragraph 46 of the FAC, Defendants generally and specifically
22   deny each and every allegation contained therein.
23         43. Answering paragraph 47 of the FAC, Defendants generally and specifically
24   deny each and every allegation contained therein
25                               SIXTH CLAIM FOR RELIEF
26         44.    Answering paragraph 48 of the FAC, Defendants incorporate by reference
27   their responses to paragraphs 1 through 47 of the FAC as though fully set forth herein.
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 1         45.    Answering paragraph 49 of the FAC, Defendants aver that the allegations of
 2   said paragraph state legal conclusions, and statements of law or arguments to which no
 3   response is required. If a response is required, Defendants generally and specifically deny
 4   each and every allegation contained therein.
 5         46. Answering paragraph 50 of the FAC, Defendants generally and specifically
 6   deny each and every allegation contained therein.
 7         47. Answering paragraph 51 of the FAC, Defendants generally and specifically
 8   deny each and every allegation contained therein.
 9         48. Answering paragraph 52 of the FAC, Defendants generally and specifically
10   deny each and every allegation contained herein.
11
12                                 AFFIRMATIVE DEFENSES
13                                                  1
14                               (Failure to State Causes of Action)
15         As a first, separate and distinct affirmative defense, Defendants allege that the
16   FAC fails to state facts sufficient to constitute a cause of action upon which relief can be
17   granted. (Code Civ. Proc., § 430.10(e).)
18                                                  2
19                              (Lack of Subject Matter Jurisdiction)
20         As a second, separate and distinct affirmative defense, Defendants allege that no
21   subject matter jurisdiction exists over Defendants, and Plaintiffs have failed to sue the
22   proper party.
23                                                  3
24                                 (No Common Law Negligence)
25         As a third, separate and distinct affirmative defense, Defendants allege that they
26   are not liable for common-law negligence and are only liable pursuant to statute by
27   operation of section 815 of the Government Code.
28   ///
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 1                                                 4
 2                             (Reasonable Diligence/Mandatory Duty)
 3         As a fourth, separate and distinct affirmative defense, Defendants allege that they
 4   are not liable for any failure to discharge a mandatory duty in that they exercised
 5   reasonable diligence in the discharge of all duties as provided by section 815.6 of the
 6   Government Code.
 7                                                 5
 8                                 (Superseding/Intervening Cause)
 9         As a fifth, separate and distinct affirmative defense, Defendants allege that they are
10   not liable by operation of sections 815.2, subdivision (b), and 820.8 of the Government
11   Code in that the injuries and damages, if there were any, were caused by the acts or
12   omissions of other persons, not officers or employees of Defendants. Such superseding
13   or intervening causes cut off the Defendants’ liability, if any.
14                                                 6
15                                     (Contributory Negligence)
16         As a sixth, separate and distinct affirmative defense, Defendants allege that
17   Plaintiffs acted unreasonably, carelessly and negligently in and about the matters alleged
18   in the FAC in that Plaintiffs did not exercise ordinary care, caution or prudence for their
19   own safety and protection. These acts of unreasonableness, carelessness and negligence
20   were the proximate cause of the alleged injuries, losses and damages, if there were any.
21   However, if Defendants are found legally responsible to Plaintiffs, then Defendants
22   provisionally allege that their acts or omissions were not the sole and proximate cause of
23   Plaintiffs’ injuries and damages and that the damages awarded must be apportioned
24   according to the respective fault and legal responsibility of all parties, persons and
25   entities who contributed to and/or caused the injuries and damages, according to proof
26   presented at the time of trial.
27   ///
28   ///
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 1                                                  7
 2                                      (Assumption of Risk)
 3         As a seventh, separate and distinct affirmative defense, Defendants allege that on
 4   or before the date of the subject accident or incident, Plaintiffs knew or reasonably should
 5   have known the hazards or dangers involved and, as a result, voluntarily assumed the
 6   risks in and about the matters alleged in the FAC.
 7                                                  8
 8                                              (Estoppel)
 9         As an eighth, separate and distinct affirmative defense, Defendants allege that
10   Plaintiffs are barred by the doctrine of waiver and are therefore estopped to maintain this
11   action.
12                                                  9
13                                        (Unclean Hands)
14         As a ninth, separate and distinct affirmative defense, Defendants allege that the
15   Plaintiffs’ conduct was undertaken with unclean hands, and as such, they are estopped
16   from pursuing their claims.
17                                                 10
18                                       (Failure to Mitigate)
19         As a tenth, separate and distinct affirmative defense, Defendants allege that
20   Plaintiffs have failed, refused, and neglected to reasonably mitigate their damages, which
21   bars or diminishes any recovery.
22                                                 11
23                                              (Laches)
24         As an eleventh, separate and distinct affirmative defense, Defendants allege that
25   Plaintiffs’ claims are barred by laches.
26   ///
27   ///
28   ///
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 2                                    (Discretionary Immunity)
 3         As a twelfth, separate and distinct affirmative defense, said Defendants allege that
 4   they are not liable by operation of sections 815.2, subdivision (b), and 820.2 of the
 5   Government Code in that the injuries and damages, if there were any, resulted from
 6   exercise of discretion vested in public officers and employees.
 7                                                13
 8                                     (Exercise of Due Care)
 9         As a thirteenth, separate and distinct affirmative defense, Defendants allege that
10   they are not liable by operation of sections 815.2, subdivision (b), and 820.4 of the
11   Government Code for the execution or enforcement of the law by public officers or
12   employees exercising due care.
13                                                14
14                                          (Good Faith)
15         As a fourteenth, separate and distinct affirmative defense, Defendants allege that
16   they are not liable by operation of section 820.6 of the Government Code for injury
17   caused by acts, in good faith, under the apparent authority of an enactment that is
18   unconstitutional, invalid or inapplicable.
19                                                15
20                             (Judicial or Administrative Proceeding)
21         As a fifteenth, separate and distinct affirmative defense, Defendants allege that
22   they are not liable by operation of sections 815.2, subdivision (b), and 821.6 of the
23   Government Code in that the injuries and damages, if there were any, were caused by the
24   institution or prosecution of a judicial or administrative proceeding.
25                                                16
26                             (Immunity for Reporting Child Abuse)
27         As a sixteenth, separate and distinct affirmative defense, Defendants allege that
28   they are not liable for injuries arising out of the reporting of a known or suspected
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 1   instance of child abuse, pursuant to section 11172 of the Penal Code and section 16513 of
 2   the Welfare and Institutions Code.
 3                                                17
 4                                    (Mental Illness Treatment)
 5         As a seventeenth, separate and distinct affirmative defense, Defendants allege that
 6   they are not liable pursuant to Government Code section 855.8 for the diagnosis and
 7   treatment of mental illness.
 8                                                18
 9                                  (Mental Illness Confinement)
10         As an eighteenth, separate and distinct affirmative defense, Defendants allege that
11   they are not liable pursuant to Government Code section 856 for any determination as to
12   confinement for mental illness, or for release from such confinement under this section
13   and/or pursuant to Welfare and Institutions Code section 5154.
14                                                19
15                                  (Physical/Mental Examination)
16         As a nineteenth, separate and distinct affirmative defense, Defendants allege that
17   they are not liable pursuant to Government Code section 855.6 for any alleged failure to
18   make a physical examination or to make an adequate physical or mental examination for
19   the purpose of determining whether such person has a disease or physical or mental
20   condition.
21                                                20
22                             (Immunity for Reporting Child Abuse)
23         As a twentieth, separate and distinct affirmative defense, Defendants allege that
24   they are not liable for injuries arising out of the reporting of a known or suspected
25   instance of child abuse, pursuant to section 11172 of the Penal Code and section 16513 of
26   the Welfare and Institutions Code.
27   ///
28   ///
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 2                                          (Lawful Arrest)
 3         As a twenty-first, separate and distinct affirmative defense, Defendants allege that
 4   they are not liable by operation of section 815.2, subdivision (b), of the Government
 5   Code and section 847 of the Penal Code in that the arrest and/or imprisonment arose out
 6   of a lawful arrest.
 7                                                 22
 8                                 (Immunity for Prisoner Injury)
 9         As a twenty-second, separate and distinct affirmative defense, Defendant County
10   of San Diego alleges it is not liable for any injury caused by or to any prisoner by
11   operation of section 844.6 of the Government Code.
12                                                 23
13                               (Alleged Failure to Arrest or Retain)
14         As a twenty-third, separate and distinct affirmative defense, Defendants allege that
15   they are not liable for injuries caused by the failure to make an arrest or by the failure to
16   retain an arrested person in custody, pursuant to section 846 of the Government Code.
17                                                 24
18                                        (Reasonable Force)
19         As a twenty-fourth, separate and distinct affirmative defense, Defendants allege
20   that they are not liable by operation of section 815.2, subdivision (b), of the Government
21   Code, and section 835a of the Penal Code in that the physical force and contact utilized
22   was reasonable to effect a lawful arrest, to prevent escape or to overcome resistance.
23                                                 25
24                                   (Necessary Force to Defend)
25         As a twenty-fifth, separate and distinct affirmative defense, Defendants allege that
26   they are not liable by operation of section 815.2, subdivision (b), of the Government
27   Code and section 835a of the Penal Code in that the physical force and contact utilized
28   were reasonable for the lawful defense of the officer(s) and/or others.
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 2                                       (Qualified Immunity)
 3         As a twenty-sixth separate and distinct affirmative defense, Defendant Deputy
 4   Collins alleges that he is entitled to qualified immunity from liability under title 42,
 5   United States Code section 1983.
 6                                                 27
 7                                          (Policymakers)
 8         As a twenty-seventh, separate and distinct affirmative defense, Defendants allege
 9   that they are not liable for alleged violations of civil or constitutional rights by non-
10   policymakers, or by policymakers who are acting on behalf of an entity other than the
11   County of San Diego.
12                                                 28
13                   (Untimely Claim Under Government Code Section 945.4)
14         As a twenty-eighth, separate and distinct affirmative defense, Defendants allege
15   that Plaintiffs’ action is barred by the failure of Plaintiffs to timely comply with the
16   administrative claim provisions of section 945.4 of the Government Code.
17                                                 29
18                                (Res Judicata and/or Collateral Estoppel)
19         As a twenty-ninth, separate and distinct affirmative defense, Defendants allege that
20   Plaintiffs have already litigated all or some of the claims set forth in the FAC, such that
21   those claims are barred by the doctrine(s) of res judicata and/or collateral estoppel.
22                                                 30
23                   (Untimely Action Under Government Code Section 945.6)
24         As a thirtieth separate and distinct affirmative defense, Defendants allege that the
25   action is barred by the failure of Plaintiffs to commence the action within the time
26   required by section 945.6 of the Government Code.
27   ///
28   ///
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 2                                      (Statute of Limitations)
 3           As a thirty-first, separate and distinct affirmative defense, Defendants allege that
 4   Plaintiffs’ action is barred by the statute of limitations (including but not limited to
 5   Section 335.1 of the Code of Civil Procedure).
 6
 7                                                  32
 8                                          (Collateral Source)
 9             As a thirty-second, separate and distinct affirmative defense, Defendants allege
10   that pursuant to Government Code section 985, any judgment entered herein may be
11   reduced for collateral source payments paid or obligated to be paid for services or
12   benefits that were provided before trial commenced.
13                                                  33
14                                    (Punitive Damages Barred)
15           As a thirty-third, separate and distinct affirmative defense, Defendants allege that
16   Defendant County of San Diego is not liable for punitive or exemplary damages by
17   operation of section 818 of the Government Code.
18                                                  34
19                                          (Misrepresentation)
20           As a thirty-fourth separate and distinct affirmative defense, Defendants allege that
21   they are not liable for injuries caused by any misrepresentation by officers or employees
22   of the County of San Diego by operation of sections 818.8 and 822.2 of the Government
23   Code.
24                                                  35
25                                         (No Standing to Sue)
26           As a thirty-fifth, separate and distinct affirmative defense, Defendants allege that
27   Plaintiffs have no standing to sue.
28   ///
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 2                          (Failure to Exhaust Administrative Remedies)
 3         As a thirty-sixth, separate and distinct affirmative defense, Defendants allege that
 4   Plaintiffs’ action is barred by Plaintiffs’ failure to exhaust administrative remedies,
 5   including but not limited to, internal administrative procedures and/or statutory
 6   administrative procedures and, therefore, this Court lacks jurisdiction over Plaintiffs’
 7   claims.
 8         WHEREFORE, said Defendants pray as follows:
 9         1.     That the action be dismissed with prejudice;
10         2.     That Plaintiffs take nothing by their action;
11         3.     That Defendants recover their costs of suit incurred herein, including
12   attorneys' fees; and
13         4.     For such other and further relief as the Court deems proper and just.
14   DATED: July 25, 2022             CLAUDIA SILVA, Acting County Counsel
15
                                      By: s/ALEXA KATZ, Senior Deputy
16                                    Attorneys for Defendants County of San Diego and
                                      Deputy David Collins, Jr.
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